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Pro Se | (Rev. (2/16} Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
Middle District of | Pennsylvania
Harrisburg Division
°
) Case No. \ - ad: CV- CERIO
M Butl ) (to be filled in by the Clerk's Office)
aryann Butler

Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint. if
the names of all the plaintiffs cannot fit in the space above, please ) Yes No O
write “see attached” in the space and attach an additional page )
with the full list of names.} )

=“Y- }
) FILED
New American Funding ) HARRI SBURG, PA
14511 Myford Road Suite 100 ) APR
Tustin, California 92780 ) | 5
Defendant(s) PER

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please ) PUTY CLERK

write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Compiaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Maryann Butler
Street Address 1823 State Street
City and County Harrisburg, Dauphin
State and Zip Code Pennsylvania 17103
Telephone Number 717-424-8220
E-mail Address Mfmallah87@icloud.com

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B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or 2 corporation. For an individual defendant,
include the person's job or title (if snown). Attach additional pages if needed.

Defendant No. 1

Name New American Funding

Job or Title (known) Lender

Street Address 14511 Myford Road Suite 100
City and County Tustin, Orange County
State and Zip Code California , 92780
Telephone Number

E-mail Address (if taown)

Defendant No. 2
Namie

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)

Street Address

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City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

IL. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the parties.
Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties is a federal
question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of | another State or nation
and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check aif that apply)

x Federal question 1) Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A, if the Basis for Jurisdiction Js a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Equal Credit Opportunity Act (ECQA), 15 U.S.C. § 1691 — failure to issue an adverse action notice;
RESPA, 12 U.S.C. § 2601 — failure to transfer FHA case and disclose settlement info;

TILA, 15 U.S.C. § 1601 — lack of required loan disclosures;

FCRA, 15 U.S.C. § 1681 — unauthorized or excessive credit inquiries;

HUD Mortgagee Letter 2009-40 — wrongful cbsiruction of FHA case transfer.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, fname) , is a citizen of the

State of (name)

b. lf the plaintiff is a corporation
The plaintiff, ame) , i$ incorporated

under the laws of the State of fname}

and has its principal place of business in the State of (name)

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(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s}

a. If the defendant is an individual
The defendant, (name) , 18 acitizen of
the State of (ame) . Or is a citizen of

(foreign nation)

b. If the defendant is a corporation
The defendant, fname) New American Funding-Nations , 18 incorporated under
Lending Corporation d/b/a New
American Funding
the laws of the State of (name) California , and has its

principal place of business in the State of (name) Tustin, California

Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because fexpiain):

Bet, here’s a tighter, more aggressive version that still hits hard and fits clean in the form:

“The amount in controversy exceeds $75,000. Plaintiff seeks $1,000,000 in total damages
for obstruction of a federal mortgage transaction, loss of home equity, financial harm, and
willful misconduct by Defendants, including punitive damages for gross negligence and
delay.”

Il. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including the
dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and write a
short and plain statement of cach claim in a separate paragraph. Attach additional pages if needed.

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"Plaintiff refers the Court to the attached ‘Statement of Facts' (Attachment A) for a full account of the
misconduct, including factual allegations of delay, obstruction of the mortgage process, and violations of
federal lending laws. These include but are not limited to willful negligence, failure to issue required notices,
and deprivation of access to key mortgage systems, resulting in financial harm and the loss of a
time-sensitive mortgage opportunity."

TV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitied to actual or punitive money
damages.

“Plaintiff refers the Court to the attached “(Attachment B) “Prayer And Relief

Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual contentions have — evidentiary support or, if
specifically so identified, wili likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

A, For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. | understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case,

Date of signing: April 04, 2025 /
Signature of Plaintiff
Printed Name of Plaintiff Maryann Butler

/

B. For Attorneys

Date of signing:

Signature of Attorney

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Audury PD. Davis
2041 Greenwood Street
Harrisburg, PA 17104
Phone: 717-424-8220
Email: MFMALLAH87@iCloud.com
April 16, 2025

Clerk of Court

United States District Court
Middle District of Pennsylvania
228 Walnut Street

Harrisburg, PA 17101

RE: Filing of Civil Complaint and Application to Proceed In Forma Pauperis
Plaintiff? Maryann Butler
Defendant: New American Funding

Dear Clerk of Court,

Enclosed please find the following documents for filing in the above-captioned
matter:

1. Civil Complaint with Exhibits

2. Application to Proceed In Forma Pauperis (AO 239) 3.
Declaration in Support of IFP

4 Summons in a Civil Action (AO 440)

5. Cover Sheet (JS-44)

6. Proof of Service (to be filed upon completion of service)

Plaintiff, Maryann Butler, is requesting leave to proceed in forma pauperis
pursuant to 28 U.S.C. § 1915. I am submitting this packet on her behalf as her
authorized representative.

Please file the enclosed documents accordingly and advise if, any additional
materials are required to complete the filme.

Respectiully submitted,

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whity 3
Audury/? D. Davis
Authorized Representative for Plaintiff

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